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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                  3/12/2020


TEDDY VOLKSWAGON OF THE BRONX, LLC,

                                            Plaintiff,                19-CV-2337 (AJN)(SN)

                          -against-                                           ORDER

PHILLIP DEMERSKY,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

        In a letter dated February 6, 2020, Plaintiff challenges Defendant’s responses and

objections to certain Request for Admission. The Court rules as follows:

    1. Request No. 2. Defendant objects on the grounds that the terms “overseeing” and
       “operations” are vague. Defendant’s objection is overruled in part. Defendant shall replace
       the term “overseeing” with “supervising.” The “operations of the Plaintiff” is reasonably
       interpreted to mean the Plaintiff’s business. Defendant must supplement his response
       within one week.

    2. Request No. 5. Defendant objects on the grounds that the terms “ensuring” and “properly
       documented” are vague. Defendant’s objection is overruled in part. Defendant shall admit
       or deny the following: In your capacity as General Manager for Plaintiff, You were
       responsible for making sure that each sale was documented according to Plaintiff’s policies
       and/or protocols. Defendant must supplement his response within one week.

    3. Request Nos. 6-14. Defendant denies each of these Requests for Admission while
       simultaneously stating that the Requests are vague as to what the terms “access” or
       “accessed” means. In the context of logging into a computer program, the words “access”
       or “accessed” are commonly understood to mean to enter the program electronically.
       Accordingly, the Court accepts Defendant’s denial that he entered the Volkswagen’s Easy
       Drive system through a computer program. To the extent Defendant does not intend to
       deny that he entered the Volkswagen’s Easy Drive system through a computer program he
       must amend his denials. The Court further accepts that Defendant accessed the VW “hub.”

    4. Request Nos. 15-23. Defendant objects to each of these Requests for Admission on the
       grounds that the term “Dealer Cash” is vague. The parties are ORDERED to agree upon a
       definition of the term “Dealer Cash,” which might be any compensation received from the
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       “Drive Easy” program. With respect to Defendant’s alleged inability to respond to
       statements concerning amounts, Defendant is reminded that he must “make a reasonable
       inquiry” to respond to a Request, and if he cannot admit or deny, he must affirm that “the
       information [he] knows or can readily obtain is insufficient to enable [him] to admit or
       deny. Fed. R. Civ. P. 36(a)(4).

       On the whole, the Court finds that Defendant’s responses do not reflect a good faith effort

to respond to Plaintiff’s Requests for Admissions. Defendant is ORDERED to comply with this

order and serve supplemental responses within one week from the entry of this order.

SO ORDERED.



DATED:        March 12, 2020
              New York, New York




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